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                                       APPENDIX

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  #   Document File Name                     Notes

  A   A-LDS_Org_Chart.pdf                    Organization Chart
                                             Mormon Corporate Empire

  B   B-First_Vision.pdf                     Smith’s First Version, Orthodox Presentation.
                                             Gospel Art Book,
                                             © 2009 Intellectual Reserve, Inc. p. 90.

  C   C-Hill_Cumorah_Photo.pdf               This photo is found on p. 7 of the LDS
                                             missionary tracting pamphlet provided by COP
                                             to its missionaries and used by Laura Gaddy in
                                             Germany, 2005-2006 © 1999 Intellectual
                                             Reserve, Inc.

  D   D-Joseph_Smith_Translating.pdf         Representations of Smith Translating Gold
                                             Plates that have been used in Various
                                             Publications and Displayed in Various COP-
                                             Owned, and Individual Stake and Ward or
                                             Branch Buildings to Depict COP’s Orthodox
                                             False Narrative of the Book of Mormon
                                             Creation.

  E   E-Joseph_Smith_Translating.pdf         Depictions of Smith translating from gold plates
                                             remain in 2019, as shown on
                                             www.josephsmith.net

  F   F-Joseph_Smith_Translating.pdf         “Joseph Smith Translating the Gold Plates,”
                                             by Del Parson. Displayed on www.LDS.org




ATTACHMENTS    GADDY v COP – 2:19-CV-00554-EJF                                                  1
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 G    G-Book_of_Abraham_Title-Page.pdf       Title Page of Book of Abraham
                                             “ The writings of Abraham while he was in
                                             Egypt, called the Book of Abraham, written by
                                             his own hand, upon papyrus.”


 H    H-Book_of_Abraham_Facsimile.pdf        Facsimile No. 3 from the Book of Abraham,
                                             with a comparison of Smith’s
                                             translation of the figures to the meaning
                                             accepted by professional Egyptologists.

  I   I-Joseph_Smith_Translating.pdf©        Preach My Gospel
                                             (a Guide to Missionary Service)
                                             © 2004 Intellectual Reserve, Inc., p. 38.

                                             This painting by Del Parson is also in the
                                             Gospel Art Book
                                             © 2009, IRI at p. 92.

                                             The image was also published in the October
                                             2006 & December, 2012 issues of the Ensign
                                             Magazine, a COP/CES/CC correlated
                                             publication.

                                             This painting depicts Smith, and upon
                                             information and belief, Oliver Cowdrey his
                                             scribe, at the same table with the gold plates in
                                             full view.

                                             © 2004-2012 Intellectual Reserve




ATTACHMENTS    GADDY v COP – 2:19-CV-00554-EJF                                                   2
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  J   J-The_First_Vision.pdf                   The First Vision, by Del Parson (62470);
                                               GAK 403;
                                               Primary manual 1-04; Primary manual 2-38;
                                               Primary manual 3-10; Primary manual 5-06;
                                               Primary manual 6-40; Primary manual 7-40;
                                               Joseph Smith—History 1:14–20.

                                               © 2005 Intellectual Reserve

 K    K-The_First_Vision.pdf                   TEACHINGS OF THE PRESIDENTS OF THE
                                               CHURCH: Joseph Smith, Sunday School
                                               Manual,
                                               © 2007, Intellectual Reserve, Inc.

  L   L-The_First_Vision.pdf                   JOSEPH SMITH: PROPHET OF THE
                                               RESTORATION Films by LDS Motion Picture
                                               Studio, a subsidiary of Bonneville International,
                                               Corp.
                                               © 2005 & 2011.

 M    M-Gold_Plates_Toy.pdf                    Gold Plates Toy Offered For Sale
                                               From Deseret Book In 2019.

  N   N-Snow_Transcript.pdf                    TRANSCRIPT OF AUDIO BY HISTORIAN
                                               STEVEN SNOW
                                               “And now curriculum and seminaries and
                                               institute can safely weave these essays into a
                                               future curriculum to in a sense ‘inoculate’ is
                                               a word I use quite a bit for the rising
                                               generation. So, they can learn a little bit about
                                               these things without being totally shocked
                                               when they hear them for the first time.”




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